        Case 4:13-cr-00052-BMM Document 173 Filed 01/05/17 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                          CR 13-52-GF-BMM

                     Plaintiff,                             ORDER

 vs.

 DUSTIN JAY AFTER BUFFALO,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on December 12, 2016. Defendant admitted that he

had violated the conditions of his supervised release by failing to report to his

probation officer as directed, by failing to notify his probation officer prior to a

change in residence, and by failing to participate in substance abuse treatment.

Judge Johnston found the admissions sufficient to establish the supervised release

violations. Judge Johnston recommended that this Court revoke Defendant's

supervised release and commit the Defendant to the custody of the United States

Bureau of Prisons for a term of imprisonment of six months, with no supervised

release to follow. Judge Johnston further recommended that the Defendant serve

his sentence in the Federal Correctional Institute in Herlong, California.

       No objections were filed by either party. Judge Johnston’s findings
         Case 4:13-cr-00052-BMM Document 173 Filed 01/05/17 Page 2 of 2



and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted that

he had violated the conditions of his supervised release. Defendant could be

incarcerated for up to 24 months, followed by 30 months of supervised release less

any custody time imposed. The United States Sentencing Guidelines call for a

term of imprisonment of three to nine months. A sentence of six months in

custody, followed by no supervised release is appropriate. The sentence is

sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 168) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 5th day of January, 2017.




                                             -2-
